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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NICO TRINKHAUS,

                   Plaintiff,                         ORDER
                                               20 Civ. 2891 (NRB)
             - against –

CONSUMERTRACK, INC.,

                   Defendant.

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NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


     It having been reported to this Court that this case has been

settled, it is hereby

     ORDERED that the above-captioned action be, and hereby is,

dismissed without costs and without prejudice to restoring the

action to this Court’s calendar if the application to restore the

action is made within 30 days.


DATED:       New York, New York
             November 9, 2018


                                    ________________________________
                                          NAOMI REICE BUCHWALD
                                      UNITED STATES DISTRICT JUDGE
